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 8                        UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 UNITED STATES OF AMERICA,                   Case No. CR-23-221-JFW
12               Plaintiff,                    [PROPOSED] ORDER
13         v.
                                               Crtrm.: 7A
14 TREVOR DANIEL JACOB,
                                               Judge: John F. Walter
15               Defendant.
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           GOOD CAUSE BEING SHOWN, IT IS HEREBY ORDERED that the
19
     sentencing hearing scheduled in this matter on September 11, 2023, is continued to
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     October 16, 2023, at 8:30 a.m.
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24 DATE                                      HONORABLE JOHN F. WALTER
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                                      [PROPOSED] ORDER
